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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
v. * CRIMINAL NO. JKB-22-0146
RON ELFENBEIN, © *
Defendant. *
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ORDER

For the reasons set forth in the foregoing Memorandum, it is ORDERED that:

1. Defendant Ron Elfenbein’s Motion for Judgment of Acquittal or, in the Alternative, for a
New Trial (ECF No. 78) is GRANTED in part and CONDITIONALLY GRANTED in
part. The Motion is granted to insofar as it secks a judgment of acquittal, and it is
conditionally granted to the extent it seeks a new trial.

2. The jury’s guilty verdicts on Counts 1—5 of the Amended Superseding Indictment are SET

_ ASIDE and a Judgment of Acquittal SHALL ISSUE.

3. The Sentencing that was set in for January 30, 2024 and all related dates and deadlines are

VACATED.

4. To the extent predecessor charges or indictments remain open on the docket, they are
DISMISSED.

5. After she enters the Judgment of Acquittal on the docket, the Clerk is DIRECTED to

CLOSE THIS CASE.

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DATED this Z ! day of December, 2023
BY THE COURT:

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James K. Bredar
Chief Judge

